     Case 22-18303-JKS Doc 126-4 Filed 05/30/23 Entered 05/30/23 17:46:56                  Desc
                           Proposed Order Page 1 of 2
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
NORGAARD, O'BOYLE & HANNON
184 Grand Avenue
Englewood, NJ 07631
(201) 871-1333
Attorneys for Debtor-in-Possession
By: John O’Boyle, Esq, (JO – 6337)
     joboyle@norgaardfirm.com

In Re:                                                   Case No.:       ____________________
                                                                               22-18303

            ALEXANDRE DACOSTA and                                           July 6, 2023
                                                         Hearing Date: ____________________
               VIVIANNE ANTUNES,
                                                         Judge:          _____________________
                                                                                Sherwood
                                        Debtors.
                                                         Chapter:        _____________________
                                                                                   11




                                    ORDER GRANTING ALLOWANCES


         The relief set forth on the following page is hereby ORDERED.
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       The Court having found that the person(s) named below filed application(s) for
allowances; and notice and opportunity for hearing were given to creditors and other parties in
interest as required; and for good cause shown; it is


       ORDERED that compensation and expenses are allowed as follows:


       APPLICANTS                     COMMISSION/FEES                      EXPENSES

  Norgaard, O'Boyle & Hannon                 $76,886.75                     $5,670.86

Applicants may seek payment of the amounts allowed above, less $12,500.00 previously
received, from the Debtor and/or the Estate as an Administrative Expense.




                                                                                         rev.8/1/15




                                                 2
